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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §           CASE NO. 1:12-CR-119 (8)
                                                   §
 MICHAEL TAYLOR WORD                               §


           MEMORANDUM ORDER ADOPTING THE MAGISTRATE JUDGE'S
                    REPORT AND RECOMMENDATION

          The court referred a petition alleging violations of supervised release conditions to the

 Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for consideration

 pursuant to applicable laws and orders of this court. The court has received and considered the

 Report of the United States Magistrate Judge filed pursuant to such order, along with the record,

 pleadings and all available evidence.

       At the close of the revocation hearing, U.S. Magistrate Judge Zack Hawthorn
 recommended:

          1.     that the court find that the Defendant violated the second allegation in the petition
                 that he failed to follow a standard condition of release;

          2.     that the Defendant’s supervised release should be revoked pursuant to 18 U.S.C.
                 § 3583; and

          3.     the Defendant should be sentenced to a term of 8 months’ imprisonment, with two
                 years of supervised release to follow. The court adopts the magistrate judge’s
                 findings for the imposition of the special conditions of supervised release.


          Neither party has filed objections to Judge Hawthorn's Report and Recommendation.

 Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct and

 the report of the magistrate judge is ADOPTED. It is therefore

          ORDERED and ADJUDGED that the petition is GRANTED and Word’s supervised
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 release is REVOKED.

        Judgment and commitment will be entered separately, in accordance with the magistrate

 judge’s recommendations.     It is recommended that the Defendant complete his term of

         .
 imprisonment at the La Tuna Federal Correctional Institute in Anthony, Texas, if possible.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 26th day of October, 2016.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
